Case 3-21-00039-cjf     Doc 33     Filed 07/01/22 Entered 07/01/22 17:23:47     Desc Main
                                   Document     Page 1 of 3

                       UNITED STATES BANKRUPTCY COURT
                        WESTERN DISTRICT OF WISCONSIN


In the Matter of:                                       In Bankruptcy No.
                                                           20-13006-cjf
MAPLE LEAF CHEESE COOPERATIVE,                              Chapter 11

                 Debtor.
-------------------------

MAPLE LEAF CHEESE COOPERATIVE,

                         Plaintiffs,            Adversary Proceeding No. 21-00039

v.

MAPLE LEAF CHEESEMAKERS, INC.,

                         Defendant.


     DEFENDANT’S SUPPLEMENT TO ITS MOTION TO COMPEL DISCOVERY
                 OR ALTERNATIVELY, ISSUE SANCTIONS
                 PURSUANT TO FED. R. CIV. PRO. 37(a), (d)

       The Defendant, Maple Leaf Cheesemakers, Inc. (“MLC”) by their counsel, Jane F.

(Ginger) Zimmerman, Scott G. Salemi and Kristin K. Beilke of Murphy Desmond S.C.,

pursuant to Fed. R. Bankr. P. 7037 and Fed. R. Civ. P. 37(a), and (d), hereby provides this

supplement to its Motion to Compel Discovery or Alternatively Issue Sanctions (“Motion”),

and in support thereof states as follows:

1.     On Monday, June 27, 2022, MLC filed its Motion regarding Plaintiff Maple Leaf

Cheese Cooperative’s (“Coop”) conduct during discovery.

2.     At almost 4:00 p.m. that day, the Coop sent over additional documents bates stamped

COOP0019123-COOP0019756, an additional 633 documents. The documents contained in

this batch purported to be documents that were from the Coop’s previous counsel, Michael

Best, that Coop’s counsel first became aware of a “couple weeks” before June 27, 2022.
Case 3-21-00039-cjf     Doc 33    Filed 07/01/22 Entered 07/01/22 17:23:47        Desc Main
                                  Document     Page 2 of 3
                                            -2-


3.     On Wednesday, June 29, 2022 at almost 5:00 p.m., the Coop sent additional

documents bates stamped COOP19757-COOP0020031, an additional 274 documents.

4.     COOP0019123-COOP0020031 (“New Production”), an additional 907 documents,

contained emails from MLC to the Coop, or between counsel of the parties. However, it also

contained documents that are copies of checks from the Whey Account, an account from

which the Coop specifically alleged malfeasance in the Complaint.

5.     The New Production, including Whey Account documents are only now being

provided after MLC specifically asked for them in their written discovery requests issued on

April 7, 2022. (Doc. 27, Ex. A, Req. for Prod. of Docs. No. 3.) MLC’s counsel again

addressed the issue of missing Whey Account documents in an email to Coop’s counsel on

June 2, 2022. A copy of this correspondence is attached hereto as Exhibit A. When no

additional documents were produced, the issue was further requested in MLC’s second

deficiency letter dated June 8, 2022 (Doc. 27, Ex. D, p. 4.)

6.     Not only is the New Production, which the Coop had every opportunity of being able

to provide when requested, voluminous, but it contains important information, such as who

signed the checks, which could not have been obtained from bank statements, ledgers or

other documentation related to the Whey Account.

7.     This is a continuing, intentional lack of disclosure, when the parties are just four

weeks away from trial and need to prepare experts and other witnesses to defend the action.



       WHEREFORE, Defendant respectfully supplements its Motion and renews its request

that the Court grant the relief as sought in the Motion, or any other relief this Court deems

just and proper.
Case 3-21-00039-cjf       Doc 33   Filed 07/01/22 Entered 07/01/22 17:23:47   Desc Main
                                   Document     Page 3 of 3
                                             -3-


          Dated 1st day of July, 2022.

                                               MURPHY DESMOND S.C.
                                               Attorneys for the Defendant, Maple Leaf
                                               Cheesemakers, Inc.


                                               By: /s/ Kristin K. Beilke
                                                    Kristin K. Beilke
                                                    State Bar Number: 1113333
                                                    33 East Main Street, Suite 500
                                                    P.O. Box 2038
                                                    Madison, WI 53701-2038
                                                    Phone: (608) 257-7181
                                                    Fax: (608) 257-2508
                                                    Email: kbeilke@murphydesmond.com


4881-2247-2741, v. 1
